 Case 3:13-cr-00178-JRS Document 172 Filed 05/05/14 Page 1 of 4 PageID# 747




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION



UNITED STATES OF AMERICA,



v.                                                       CASE NO. 3:13CR00178-007


MARIA CRISTINA PALOS,
                       Defendant.



            REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE


       This matter is before the court pursuant to Title 28 U.S.C. § 636(b)(1)(B) and (b)(3) upon

the Defendant's request to enter a plea of guilty pursuant to Fed. R. Crim. P. 11 and a written

plea agreement that has been entered into by the United States and the Defendant. The matter

was presented to the court upon the written consent of the Defendant and counsel for the

Defendant to proceed before a United States Magistrate Judge, said consent including the

Defendant's understanding that she consented to not only having the Magistrate Judge conduct

the hearing and enter any order of forfeiture, if applicable, but also to having the Magistrate

Judge make necessary findings and accepting any guilty plea as may be entered that could not be

withdrawn except for fair and just reason.

         The Defendant pled guilty to Count Five of the Superseding Indictment in open court

and pursuant to a Rule 11 inquiry. Upon consideration of the responses and statements made by

the Defendant under oath, on the record, and based upon the written plea agreement and

statement of facts presented, the court makes the following findings:

       1.      That the Defendant is competent to enter a plea of guilty;

       2.      That the Defendant understands the nature of the charge against her to which her
Case 3:13-cr-00178-JRS Document 172 Filed 05/05/14 Page 2 of 4 PageID# 748
Case 3:13-cr-00178-JRS Document 172 Filed 05/05/14 Page 3 of 4 PageID# 749
Case 3:13-cr-00178-JRS Document 172 Filed 05/05/14 Page 4 of 4 PageID# 750
